                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                     ROANOKE DIVISION

 UNITED STATES OF AMERICA,                           )
                                                     )
 Plaintiff,                                          )   Case No. 7:19-cv-00354
                                                     )
                                                     )
 V.                                                  )
                                                     )
 SOUTHERN COAL CORPORATION;                          )
 A & G COAL CORPORATION; JUSTICE                     )
 COAL OF ALABAMA LLC; BLACK RIVER                    )
 COAL LLC; CHESTNUT LAND                             )
 HOLDINGS LLC; DOUBLE BONUS COAL                     )
 COMPANY; DYNAMIC ENERGY INC.;                       )
 FOUR STAR RESOURCES LLC;                            )
 FRONTIER COAL COMPANY, INC.;                        )
 INFINITY ENERGY INC.; JUSTICE                       )
 ENERGY COMPANY, INC.; JUSTICE                       )
 HIGHWALL MINING, INC.; KENTUCKY                     )
 FUEL CORP., KEYSTONE SERVICES                       )
 INDUSTRIES INC.; M & P SERVICES,                    )
 INC.; NINE MILE MINING COMPANY,                     )
 INC.; NUFAC MINING COMPANY, INC.;                   )
 PAY CAR MINING INC.; PREMIUM COAL                   )
 COMPANY, INC.; S AND H MINING, INC.;                )
 SEQUOIA ENERGY, LLC; TAMS                           )
 MANAGEMENT, INC.; VIRGINIA FUEL                     )
 CORP.,                                              )
                                                     )
 Defendants.                                         )
                                                     )

                                    CONSENT JUDGMENT

        A Joint Stipulation for Consent Judgment was filed by the parties. Defendants, by counsel,

acknowledge they owe and agree to pay the United States $5,130,125.47. Defendants shall make

consecutive monthly payments of $102,442.00 on or before the first of every month beginning

April 1, 2020, and a one-time payment of $212,909.44 on or before April 15, 2020, until the

$5,130,125.47 is paid in full or the Court instructs otherwise.

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       This Order incorporates by reference all the terms agreed to by the Parties as set forth in

the Joint Stipulation for Consent Judgment.

       IT IS SO ORDERED.



       ENTERED this                  day of April, 2020.



                                              GLEN E. CONRAD
                                              UNITED STATES DISTRICT JUDGE




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